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7                        UNITED STATES DISTRICT COURT

8                       EASTERN DISTRICT OF CALIFORNIA

9                                 ----oo0oo----

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11   UNITED STATES OF AMERICA,               No.   2:07-0248 WBS
12                Plaintiff,

13       v.                                  ORDER
14   BISMARK OCAMPO,

15                Defendant.

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18             The court having read and considered the Government’s

19   Motion for a Reduced Sentence Pursuant to Rule 35(B)(2) (Docket

20   No. 1546), and good cause appearing therefor, the motion is

21   hereby GRANTED, and defendant Bismark Ocampo’s sentence is

22   ORDERED reduced from a term of 336 months to a term of 180 months

23   imprisonment.   Counsel for the United States shall prepare and

24   submit for signature the necessary documents to effectuate this

25   Order.

26             IT IS SO ORDERED.

27   Dated:   May 25, 2017

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